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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA




      BEYOND BLOND                        CV 20-5581 DSF (GJSx)
      PRODUCTIONS, LLC,
          Plaintiff,                      Order DENYING Motion for
                                          Reconsideration (Dkt. 248)
                      v.

      EDWARD HELDMAN III, et al.,
         Defendants.



           On February 8, 2021, the Court granted Defendants Edward
     Heldman III, ComedyMX, Inc., and ComedyMX, LLC’s motion to strike
     under California’s anti-SLAPP statute Plaintiff Beyond Blond
     Productions, LLC’s state law claims for tortious interference with
     existing and prospective economic advantage, trade libel, and unfair
     competition. Dkt. 80 (Order). On November 3, 2021, Beyond Blond
     moved for reconsideration of the order on the grounds that newly
     discovered information regarding Defendant Heldman’s anonymous
     Amazon account indicated the litigation privilege may not apply, dkt.
     165, and the Court denied the motion, dkt. 178. Beyond Blond again
     moves for reconsideration of the Order. Dkt. 248 (Mot). Defendants
     oppose. Dkt. 254 (Opp’n). The Court deems this matter appropriate for
     decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
     15. Beyond Blond’s motion is DENIED.

                             I. LEGAL STANDARD

          In the Central District of California, a motion for reconsideration
     may be made only on grounds of:
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           (a) a material difference in fact or law from that presented
           to the Court before such decision that in the exercise of
           reasonable diligence could not have been known to the
           party moving for reconsideration at the time of such
           decision, or (b) the emergence of new material facts or a
           change of law occurring after the time of such decision, or
           (c) a manifest showing of a failure to consider material facts
           presented to the Court before such decision.

     Local Rule 7-18. “No motion for reconsideration shall in any manner
     repeat any oral or written argument made in support of or in opposition
     to the original motion.” Id. Unless the moving party shows that one of
     the three listed grounds exists, the Court will not grant
     reconsideration.

                                II. DISCUSSION1

            As the Court stated in its prior order denying reconsideration, the
     Court previously found Defendants’ communications to Amazon and
     Warner Brothers in 2020 were protected by the litigation privilege, and
     therefore Beyond Blond did not have a likelihood of prevailing on the
     merits of its state law claims because those claims were barred. Order
     at 11, 13-14. Beyond Blond seeks reconsideration of the Order on the
     grounds that (1) the Ninth Circuit reversed a case on which the Court
     relied in finding the litigation privilege applied for purposes of the first
     prong of the anti-SLAPP analysis; and (2) communications produced in
     discovery after the Order allegedly disclose Defendants’ purpose of
     seeking to cut off a competitor’s source of revenue for commercial
     purposes without the intent to imminently litigate. Mot. at 3-4.

     A.    Change in Law

          Beyond Blond argues that the Court should change its decision in
     the Order because cases on which the Court relied have either been

     1Defendants argue Beyond Blond failed to meet and confer on this motion,
     but it is evident from the communications submitted by Beyond Blond that
     Beyond Blond attempted to do so. See Dkt. 248-1, Ex. A at 8.



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     reversed by the Ninth Circuit or questioned by other district courts.
     Mot. at 7. As an initial matter, that another district court criticized a
     decision on which this Court relied in the Order, or resolved a similar
     issue differently, does not amount to a “material” difference in law.

            The Court considers the Ninth Circuit’s reversal in April 2022 of
     Thimes Sols. Inc. v. TP Link USA Corp., No. CV 19-10374 PA (EX),
     2020 WL 4353681 (C.D. Cal. June 8, 2020), aff’d in part, rev’d in part
     and remanded, No. 21-55407, 2022 WL 1125628 (9th Cir. Apr. 15,
     2022). The Ninth Circuit’s reversal of the district court’s decision in an
     unpublished memorandum also does not amount to a change in law
     requiring the Court to change its findings. The Court relied on Thimes
     in the Order, finding the reasoning of the case was applicable because,
     as here, the defendants submitted written complaints to Amazon
     alleging the plaintiff had infringed its intellectual property, and the
     court in Thimes had held that Amazon was a party with an interest in
     the litigation because the case concerned activity on Amazon’s
     platform. Order at 10. Notably, the district court in Thimes did not
     explicitly discuss whether the defendants contemplated litigation at the
     time of the communications challenged by the anti-SLAPP motion. See
     Thimes, 2020 WL 4353681, at *6.

          In reversing the district court’s findings as to the anti-SLAPP
     motion, the Ninth Circuit stated:

           Defendants’ complaints to Amazon did not propose
           litigation. Nor, taking the facts in the light most favorable
           to Plaintiff, did Defendants seriously contemplate litigation
           at that time. California’s litigation privilege therefore does
           not shield Defendants’ complaints to Amazon from
           litigation. Accordingly, Plaintiff prevails on the anti-
           SLAPP inquiry.

     Thimes, 2022 WL 1125628, at *1. This finding does not constitute a
     change in law, as it was dependent on the specific facts of that case,
     and therefore it does not disturb the Court’s findings in the Order.




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     B.    New Facts

            Beyond Blond also argues that documents produced in discovery
     after the Order reveal that Defendants did not seriously contemplate
     litigation at the time they engaged in the activity at the heart of
     Beyond Blond’s anti-SLAPP motion. Mot. at 7-8. The Court found in
     the Order that “the gravamen of Beyond Blond’s claims is that
     Defendants allegedly falsely represented to others that Beyond Blond
     infringed their copyright and trademark, leading to the suspension of
     Beyond Blond’s Amazon account.” Order at 7-8.

           Beyond Blond argues that because none of the emails to Amazon
     propose or threaten litigation at the time they were made, Heldman
     was not seriously contemplating litigation. Mot. at 7. Beyond Blond
     also argues that because Defendants filed counterclaims only after
     Beyond Blond filed suit, and because they did not assert counterclaims
     for copyright infringement, this demonstrates they did not seriously
     contemplate litigation. Id. at 8. The Court rejected this argument in
     its Order. Order at 11. Additionally, while Defendants did not bring a
     counterclaim for copyright infringement, as Beyond Blond points out,
     see Mot. at 8, they did counterclaim for trademark infringement, see
     dkt. 35 ¶¶ 41-42; dkt. 168 ¶¶ 52-53.

           Beyond Blond also argues the newly-produced documents show
     that Heldman’s intent was not to defend his intellectual property, but
     rather to remove Beyond Blond’s titles from Amazon to defeat
     competition. Mot. at 8. While Heldman refers in some of his
     communications to Amazon to the allegedly racist content in Beyond
     Blond’s videos, in other communications, including prior to filing the
     counterclaims, he also claimed intellectual property infringement and
     posting of public domain content in violation of Amazon’s policies. See
     dkt. 248-1, Ex. B (September 2022 email to Amazon listing several of
     Beyond Blond’s videos and arguing they are public domain and
     infringing content, and noting other issues such as racist images); Ex.
     D (pre-suit communications about posting of public domain content,
     followed by emails days before filing counterclaim referring to racist
     content in Beyond Blond’s videos). As the Court stated in its Order,


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     Order at 11, and restated in its order denying Beyond Blond’s first
     motion for reconsideration, dkt. 178 at 3, California’s litigation
     privilege is an “absolute” privilege and is not subject to qualification
     based on the subjective motives of a party. Silberg v. Anderson, 50 Cal.
     3d 205, 215 (1990), as modified (Mar. 12, 1990); Mansell v. Otto, 108
     Cal. App. 4th 265, n.47 (2003) (“[T]he presence or absence of malice or
     good or bad faith is irrelevant to the inquiry whether the litigation
     privilege is applicable.”). The Court declines to disturb the findings in
     its Order.

                              III.   CONCLUSION

           Beyond Blond’s motion for reconsideration is DENIED.

        IT IS SO ORDERED.



      Date: July 11, 2022                    ___________________________
                                             Dale S. Fischer
                                             United States District Judge




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